     Case 1:02-cr-00133-HG-BMK Document 855 Filed 03/19/18 Page 1 of 1                                     PageID #: 1271
                           ffl
                            .  Arrest



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                                                     mi APR 2          <iPffiRT
 UNITED STATES OF AMERICA                           yg                               FOR ARREST
                                                         HONOLULU. HI.
                             V.                                      Case Number: CR 02-00133HG-01
                                                                                                    filed in s hie
 ROYAL LAMARR HARDY,aka "Royale LaMarr Sounet"                                               UNITED STATES DISTRiC i COURT
                                                                                                  DISTRICT OF HAWAII
  (Name and Address of Defendant)
                                                                                                   mar 1 8 2018
To: The United States Marshal and any Authorized United States Officer
                                                                                           at5 ^o'clock anH        mir
                                                                                                SLIF R.F
        YOU ARE HEREBY COMMANDED TO ARREST ROYAL LAMARR HARDY,aka "Royale LaMarr Sounet"
and bring him or her forthwith to the nearest district/ magistrate judge to answer an Order of Court,charging him or her
with (brief description of offense)

Violations of Supervised Release




Date:                       April 27, 2017                                            Sue Beitia, Clerk of Court
                                                                   Name and Title of Issuing Officer




Location:                   Honolulu, Hawaii                                /S/ Sue Beitia by deputy clerk LMG
                                                                    'epared/Signed By:



Bail Fixed at         NO BAIL                By: Helen Gillmor, Senior United States District Judge




                                                           RETURN

 This warrant was received and executed with the arrest of the above-named defendant at

 Date Received                               NAME AND TITLE OF ARRESTING OFFICER         SIGNATURE OF ARRESTING OFFICER

        H-ri'In
Date of Arrest        ,
